
		
				RE SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2023 OK 15Decided: 02/21/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 15, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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RE: Suspension of Certificates of Certified Shorthand Reporters


ORDER


The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the annual renewal requirements for 2023.

Pursuant to 20 O.S., Chapter 20, App. 1, Rules 20(c) and 23(d), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective February 21, 2023.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 21ST day of FEBRUARY, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


_CSR Exhibit A


	
		
			
			Name
			
			
			CSR #
			
			
			Reason
			
		
		
			
			Shana Bay
			
			
			CSR #1659
			
			
			Renewal Fee and Continuing Education
			
		
		
			
			Kayla Carlock
			
			
			CSR #1381
			
			
			Renewal Fee and Continuing Education
			
		
		
			
			Mignon Cruchon
			
			
			CSR #1566
			
			
			Continuing Education
			
		
		
			
			Julia Jackson
			
			
			CSR #2024
			
			
			Renewal Fee and Continuing Education
			
		
		
			
			Carrie Lamontagne
			
			
			CSR #1976
			
			
			Renewal Fee and Continuing Education
			
		
		
			
			Kathleen McClanahan
			
			
			CSR #283
			
			
			Renewal Fee
			
		
		
			
			Kristy Owen
			
			
			CSR #2018
			
			
			Renewal Fee and Continuing Education
			
		
		
			
			Judy Thompson
			
			
			CSR #1674
			
			
			Renewal Fee
			
		
		
			
			Leslie Thompson
			
			
			CSR #1690
			
			
			Renewal Fee and Continuing Education
			
		
	






